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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CHRISTOPHER FARNSWORTH,                          Case No. 24-cv-06893-AMO
                                                       Plaintiff,
                                   8
                                                                                          REFERRAL FOR PURPOSE OF
                                                 v.                                       DETERMINING RELATIONSHIP
                                   9

                                  10     META PLATFORMS, INC.,
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED to the

                                  14   Honorable Vince Chhabria for consideration of whether the case is related to Kadrey et al v. Meta

                                  15   Platforms, Inc., Case No. 3:23-cv-03417-VC.

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                                  17          IT IS SO ORDERED.

                                  18   Dated: October 3, 2024

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                                                                                      ARACELI MARTÍNEZ-OLGUÍN
                                  20                                                  United States District Judge
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